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 1                                                                         FILED IN THE
                                                                       U.S. DISTRICT COURT
                                                                 EASTERN DISTRICT OF WASHINGTON
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 3
                                                                  Mar 15, 2024
                                                                      SEAN F. MCAVOY, CLERK

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 6                         UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8
 9 UNITED STATES OF AMERICA,
10         Plaintiff,                              No. 4:24-CR-06004-SAB-2

11         v.
                                                   ORDER GRANTING
12 DAVID KURT SCHNEIDER,
                                                   UNOPPOSED MOTION FOR
13         Defendant.
                                                   PROTECTIVE ORDER
14
15
16        Before the Court is the United States’ Unopposed Motion for Protective
17 Order Regulating Disclosure of Discovery and Sensitive Information, ECF No. 13.
18 The motion was heard without oral argument. The United States is represented by
19 Jeremy Kelley and Frieda Zimmerman. Defendant is represented by Deric Orr.
20        Because a significant volume of discovery in this case includes personal
21 identifiable information that would be redacted prior to providing to Defendant, the
22 United States asks the Court to enter this Protective Order that allows counsel to
23 obtain the discovery unredacted, but places certain restrictions on counsel
24 regarding the use and dissemination of the discovery. Good cause exists to grant
25 the motion.
26        Accordingly, IT IS HEREBY ORDERED:
27        1. The United States’ Unopposed Motion for Protective Order Regulating
28              Disclosure of Discovery and Sensitive Information, ECF No. 13, is
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 1             GRANTED.
 2        2.     The United States is authorized to disclose the discovery including
 3 sensitive information and materials (hereinafter “Discovery”) in its possession
 4 pursuant to the discovery obligations imposed by this Court.
 5        3.     Government personnel and counsel for David Kurt Schneider
 6 (“Defendant”), shall not provide, or make available, the sensitive information in
 7 the Discovery to any person except as specified in the Order or by approval from
 8 this Court. Counsel for Defendant and the Government shall restrict access to the
 9 Discovery, and shall only disclose the sensitive information in the Discovery to
10 their client, office staff, investigators, independent paralegals, necessary third-party
11 vendors, consultants, and/or anticipated fact or expert witnesses to the extent that
12 defense counsel believes is necessary to assist in the defense of their client in this
13 matter or that the Government believes is necessary in the investigation and
14 prosecution of this matter.
15        4.     Third parties contracted by the United States or counsel for Defendant
16 to provide expert analysis or testimony may possess and inspect the sensitive
17 information in the Discovery, but only as necessary to perform their case-related
18 duties or responsibilities in this matter. At all times, third parties shall be subject to
19 the terms of the Order.
20        5.     Discovery in this matter will be available to defense counsel via
21 access to a case file on USA File Exchange. If necessary to review discovery with
22 their respective clients, defense counsel may download the discovery and duplicate
23 only once. Discovery materials may not be left in the possession of Defendant. In
24 order to provide discovery to a necessary third-party vendor, consultant, and/or
25 anticipated fact or expert witness, counsel for Defendant may duplicate the
26 discovery only once. No other copies may be made, by defense counsel or the
27 Defendant, without prior approval from this Court.
28        6.     All counsel of record in this matter, including counsel for the United
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 1 States, shall ensure that any party, including the Defendant, that obtains access to
 2 the Discovery, is provided a copy of this Order. Any other party that obtains access
 3 to, or possession of, the Discovery containing discovery information once the other
 4 party no longer requires access to or possession of such Discovery shall promptly
 5 destroy or return the Discovery once access to Discovery is no longer necessary.
 6 No other party that obtains access to or possession of the Discovery containing
 7 sensitive information shall retain such access to or possession of the Discovery
 8 containing sensitive information unless authorized by this Order, nor further
 9 disseminate such Discovery expect as authorized by this Order or the further Order
10 of this court. For purposes of this Order, “other party” is any person other than
11 appointed counsel for the United States or counsel for Defendant.
12         7.    All counsel of record, including counsel for the United States, shall
13 keep a list of the identity of each person to whom the Discovery containing
14 sensitive information is disclosed and who was advised of the requirements of this
15 Order. Neither counsel for Defendant nor counsel for the United States shall be
16 required to disclose this list of persons unless ordered to do so by the Court.
17         8.    Upon entry of a final order of the Court in this matter and conclusion
18 of any direct appeals, government personnel and counsel for Defendant shall
19 retrieve and destroy all copies of the Discovery containing sensitive information,
20 except that counsel and government personnel may maintain copies in their closed
21 files following their customary procedures.
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     ORDER ~ 3
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 1       9.     Government personnel and counsel for Defendant shall promptly
 2 report to the Court any known violations of this Order.
 3       IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 4 this Order and provide copies to counsel.
 5       DATED this 15th day of March 2024.
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                                       Stanley A. Bastian
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                               Chief United States District Judge
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